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           EXHIBIT C
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              United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



                               Decided March 26, 2021

                                     No. 21-3010

                             UNITED STATES OF AMERICA,
                                     APPELLEE

                                           v.

                              ERIC GAVELEK MUNCHEL,
                                    APPELLANT



                              Consolidated with 21-3011


                        On Appeal of Pretrial Detention Orders
                              (No. 1:21-cr-00118-1)
                              (No. 1:21-cr-00118-2)


                  A. J. Kramer, Federal Public Defender, and Sandra G.
             Roland, Assistant Federal Public Defender, were on appellant
             Eric Munchel=s Memorandum of Law and Fact.

                 Gregory S. Smith, appointed by the court, was on appellant
             Lisa Eisenhart=s Memorandum of Law and Fact.

                 Elizabeth Trosman and Elizabeth H. Danello, Assistant
             U.S. Attorneys, were on appellee=s Memorandum of Law and
             Fact.
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                 Before: ROGERS, WILKINS and KATSAS, Circuit Judges.

                 Opinion for the Court filed by Circuit Judge WILKINS.

                 Opinion concurring in part and dissenting in part filed by
             Circuit Judge KATSAS.

                  WILKINS, Circuit Judge: We consider an appeal of a
             pretrial detention order issued after a Magistrate Judge had
             previously ordered the two appellants released pursuant to a
             lengthy set of stringent conditions. For the reasons stated
             below, we remand for the District Court to consider anew the
             government’s motion for detention.

                                            I.

                  The facts, as found by the District Court, and as observed
             in a 50-minute video of much of the incident at the heart of the
             case, are as follows.

                  Eric Munchel and his mother, Lisa Eisenhart, participated
             in the January 6, 2021 incident at the Capitol. Munchel is a
             thirty-year-old resident of Nashville, Tennessee.          He
             previously worked as a waiter and has twice been convicted for
             misdemeanor possession of marijuana in Georgia state courts.
             See United States v. Munchel, No. 1:21-CR-118-RCL, 2021
             WL 620236, at *1 (D.D.C. Feb. 17, 2021). Eisenhart is a fifty-
             seven-year-old resident of Woodstock, Georgia. She has been
             employed as a nurse for approximately thirty years and has no
             prior criminal history. Id.; Eisenhart Mem. at 13.

                 On January 6, Eisenhart and Munchel attended President
             Trump’s “Stop the Steal” rally to protest the election results.
             Both wore tactical vests and Munchel had a taser, holstered on
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             his hip. Munchel also wore his iPhone, mounted on his tactical
             vest, and used it to take a video of some of the day’s events.
             Following the rally, Eisenhart and Munchel marched towards
             the Capitol. See Munchel, 2021 WL 620236, at *2–3. As they
             approached the Capitol, they milled around outside and talked
             with others. They met members of the Oath Keepers militia and
             Munchel bumped fists with one of them. Id. at *2; Video at
             11:56–12:05.

                  At some point while Munchel and Eisenhart were standing
             around, someone yelled out “they broke the line up there” and
             people began saying “let’s go in.” Eisenhart told Munchel they
             should go in, but she added, “[w]e’re going straight to federal
             prison if we go in there with weapons.” Video at 12:28–12:40.
             Munchel responded that he would not go into the Capitol, and
             Eisenhart suggested that they put “em” in their backpacks. Id.
             Munchel and Eisenhart then moved across the crowd to an area
             where a backpack was stowed and Munchel stashed a fanny
             pack in the backpack. See Munchel, 2021 WL 620236, at *2;
             Video at 16:00–16:25. Munchel contends that the only weapon
             in the fanny pack was a pocketknife; the government suggests
             that other weapons could have been inside, perhaps even a
             firearm. See Tr. of Dist. Ct. Detention Hr’g at 10. Munchel
             kept his taser holstered on his hip. See Munchel, 2021 WL
             620236, at *2.

                  Subsequently, Eisenhart encouraged others to enter the
             Capitol, stating the tear gas “isn’t bad” and repeatedly stating,
             “let’s go in.” Video at 16:28–17:45. Munchel and Eisenhart
             pushed their way through the crowd to continue towards the
             Capitol. Munchel followed Eisenhart, often holding on to a
             strap on her back. E.g., id. at 17:45–23:00. En route, Eisenhart
             encouraged a man who claimed to have “punched two of them
             in the face,” telling him, “while everyone else is on their couch,
             you guys are training, and getting ready for it.” Id. at 23:56–
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             24:12. Munchel told members of the crowd that “we’re not
             playing f__ing nice no god damn more,” that he is “f__ing
             ready to f__ sh__ up,” and “I guess they thought we were
             playing.” Id. at 25:18, 26:58–27:01, 36:53–36:56; Munchel
             Mem. at 11. Additionally, when Eisenhart heard that Congress
             was “shut down” by tear gas she exclaimed that “they got tear-
             gassed, motherf__ers” and proclaimed it her “best day to know
             they got tear-gassed.” Video at 30:08–30:29. Directly in front
             of the Capitol and near an entrance, Munchel stated, this is
             “probably the last time I’ll be able to enter the building with
             armor and . . . f__ing weapons.” Id. at 36:29–36:35.

                  Munchel and Eisenhart entered the Capitol through an
             open door and stayed inside for approximately twelve minutes.
             Id. at 38:30–38:50 (entry); Munchel Mem. at 11. Police
             officers were standing to the right of the door, not blocking
             their entry. Munchel Mem. at 11 (citing to Video). While
             walking through the Capitol, Munchel told members of the
             mob “don’t break sh_,” “no vandalizing sh__. We ain’t no god
             damn Antifa, motherf__ers,” and “you break sh__, I break
             you.” Video at 42:45, 43:20–43:43, 44:13–44:15.

                  Additionally, while inside, Munchel and Eisenhart spotted
             plastic handcuffs, known as “zip ties.” Munchel, 2021 WL
             620236, at *2; Video at 43:43. Upon seeing the zip ties,
             Munchel shouted “Zip ties! I need to get me some of them
             motherf__ers.” Video at 43:43–43:48. Munchel took several
             zip ties and Eisenhart took one. See Munchel Mem. at 12.
             Munchel and Eisenhart eventually made their way to the Senate
             gallery, both still carrying the zip ties, and Munchel still
             carrying his taser. Munchel, 2021 WL 620236, at *2; Gov’t
             Mem. at 12 (pictures of Munchel in Senate gallery with zip
             ties). Inside the gallery, Eisenhart chanted “Treason!
             Treason!” and Munchel looked down at the dais and said, “I
             want that f__ing gavel,” referring to the Senate’s artifact.
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             Video at 45:14–45:17, 47:21–47:23. Munchel made no effort
             to steal the gavel. Id. at 47:21–47:23; Munchel, 2021 WL
             620236, at *2.

                  After leaving the gallery, Eisenhart told Munchel not to
             carry the zip ties, stating that they “need[ed] to get them out of
             [their] hands.” Video at 48:43–48:48. Later, Munchel took
             some home with him to Tennessee. See Munchel, 2021 WL
             620236, at *2. Eisenhart has claimed that she took the zip ties
             to keep them away from “bad actors.” Id.; Eisenhart Mem. at
             3.

                 Eventually, Munchel and Eisenhart left the Capitol. As
             they were exiting, Munchel said to nearby police officers,
             “Sorry, guys, I still love you.” Video at 49:27–49:29; Munchel
             Mem. at 13.

                  On the evening of January 6, a Metropolitan Police
             Department officer stopped Munchel and seized his taser. See
             Munchel, 2021 WL 620236, at *3.1 The next day, as they
             packed their car to go home, both Eisenhart and Munchel spoke
             to the media. Eisenhart stated:

                     This country was founded on revolution. If
                     they’re going to take every legitimate means
                     from us, and we can’t even express ourselves on
                     the internet, we won’t even be able to speak
                     freely, what is America for? . . . I’d rather die
                     as a 57-year-old woman than live under



             1 On January 5, a police officer had observed Munchel’s taser and

             allowed him to keep it, ostensibly because it was legal to possess on
             the street in the District of Columbia. Munchel, 2021 WL 620236,
             at *1.
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                    oppression. I’d rather die and would rather
                    fight.

             Laura Pullman, Trump’s Militias Say They Are Armed and
             Ready to Defend Their Freedoms, THE TIMES (of London) (Jan.
             10, 2021), https://www.thetimes.co.uk/article/trumps-militias-
             say-they-are-armed-and-ready-to-defend-their-freedoms-
             8ht5m0j70https://www.thetimes.co.uk/article/trumps-militias-
             say-they-are-armed-and-ready-to-defend-their-freedoms-
             8ht5m0j70 (attached to the Gov’t Suppl. Mem. at 26).
             Munchel told the newspaper:

                    We wanted to show that we’re willing to rise up,
                    band together and fight if necessary. Same as
                    our forefathers, who established this country in
                    1776. . . . It was a kind of flexing of muscles. . . .
                    The intentions of going in were not to fight the
                    police. The point of getting inside the building
                    is to show them that we can, and we will.

             Id.

                  Later, Munchel and Eisenhart returned to Tennessee, and
             Eisenhart continued on to her home in Georgia. The FBI
             posted bulletins on the internet and in the media with photos of
             Munchel and Eisenhart from January 6, asking for the public’s
             help in identifying them. On the morning of January 10, FBI
             agents executed a search warrant at Munchel’s apartment. The
             agents found the tactical vest Munchel wore at the Capitol, zip
             ties, firearms, and a large quantity of loaded magazines.
             Munchel was licensed to possess those weapons. See Munchel,
             2021 WL 620236, at *3. Soon after learning about the search,
             Munchel turned himself in. Id. at *4; Munchel Mem. at 15.
             Munchel also made arrangements for his attorney to give his
             iPhone to the FBI. Munchel Mem. at 15. Once Eisenhart
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             learned she was the target of a federal investigation, she spoke
             to a local FBI agent every day to determine whether there was
             a warrant for her arrest, and when the warrant issued, she self-
             surrendered. See Munchel, 2021 WL 620236, at *4, *7;
             Eisenhart Mem. at 3.

                 Munchel and Eisenhart were charged in a complaint with
             unlawful entry, violent entry, civil disorder, and conspiracy.
             See Complaint, United States v. Munchel, No. 1:21-CR-118-
             RCL, 2021 WL 620236, ECF No. 1 (D.D.C. Feb. 17, 2021).
             Munchel and Eisenhart had pretrial detention hearings before
             Magistrate Judge Jeffrey Frensley in the Middle District of
             Tennessee. Magistrate Judge Frensley concluded that neither
             Munchel nor Eisenhart were flight risks nor posed a danger to
             the community and issued release orders for both appellants
             with various conditions, including home detention, GPS
             monitoring, refraining from possessing firearms or dangerous
             weapons, and supervision by Pretrial Services. See Jan. 22,
             2021 Transcript (“Munchel Tr.”) at 181, 186–89 (included in
             Munchel Suppl.); Jan. 25, 2021 Transcript (“Eisenhart Tr.”) at
             163, 164–66 (attached to Eisenhart Mem.).

                  Magistrate Judge Frensley briefly stayed both of his
             release orders, id. at 171; Munchel Tr. at 198–99, and the
             government promptly appealed both orders to the United States
             District Court for the District of Columbia. Chief Judge Beryl
             A. Howell stayed both release orders pending appeal, see Stay
             Orders, ECF Nos. 4, 7, and ordered both appellants to be
             transported to D.C., see Transport Orders, ECF Nos. 5, 9.
             COVID-19-related complications slowed the appellants’
             transport to D.C. See Status Report, ECF No. 18. While their
             transports were pending, Eisenhart moved to rescind the stay
             or to conduct an immediate review of her detention, which
             Munchel joined. See ECF Nos. 14, 15, 27. Additionally, the
             government filed motions seeking review of Judge Frensley’s
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             release orders. See ECF Nos. 3, 6. In the meantime, Munchel
             and Eisenhart were detained.2

                  Subsequently, on February 12, a grand jury sitting in the
             District of Columbia returned an indictment charging Munchel
             and Eisenhart with obstruction of an official proceeding;
             Munchel with unlawful entry while armed with a dangerous
             weapon, and violent entry while armed with a dangerous
             weapon; and Eisenhart with aiding and abetting unlawful entry
             while armed with a dangerous weapon, and aiding and abetting
             violent entry while armed with a dangerous weapon. See
             Indictment, ECF No. 21; Munchel, 2021 WL 620236, at *7.
             On February 17, the District Court arraigned Munchel and
             Eisenhart on the indictment and the government made an oral
             motion for pretrial detention. See id. at *4. During the
             detention hearing in the District Court, the government
             proceeded by proffer rather than calling live witnesses. In
             addition to what had been presented to Magistrate Judge
             Frensley, the government introduced the 50-minute videotape
             into evidence and proffered that after January 6, Munchel was
             in contact with a suspected member of the Proud Boys and was

             2  Even though Magistrate Judge Frensley had found that the
             government had not met its burden of proving dangerousness by
             clear and convincing evidence, the government sought and obtained
             an ex parte stay of that release order that resulted in the appellants
             being detained for three weeks without any court finding of
             dangerousness, notwithstanding the statute’s mandate that review
             occur “promptly,” 18 U.S.C. § 3145(a), and the statutory and
             constitutional requirement of a dangerousness finding, see infra.
             While COVID-19 issues caused a delay in the appellants’ transport
             to the District of Columbia, the record does not indicate why a D.C.
             District Judge could not have heard this matter prior to February 17,
             even if the appellants were in another location. Ultimately, this
             issue, while troubling, is not presented as a ground for reversal in this
             appeal.
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             told that he was too “hot” after he expressed interest in joining
             the group. Id. at *6; Tr. of Dist. Ct. Detention Hr’g at 51.

                  Following the detention hearing, the District Court ordered
             both Munchel and Eisenhart to be detained pending trial,
             denied as moot Munchel and Eisenhart’s motions seeking to
             rescind the stay of Judge Frensley’s orders, and denied as moot
             the government’s motion seeking review of Judge Frensley’s
             orders. See Detention Orders, ECF Nos. 25, 26; see also ECF
             No. 27. The District Court concluded that both Munchel and
             Eisenhart were eligible for detention because they were
             charged with felonies while carrying a dangerous weapon,
             explaining that the indictment alleges that Munchel carried a
             dangerous weapon (the taser) and that Eisenhart aided and
             abetted Munchel and therefore she was liable as if she were the
             principal. See Munchel, 2021 WL 620236, at *5, *7.

                  Applying de novo review, the District Court determined
             that appellants were not flight risks but that detention was
             appropriate on the basis of dangerousness. Id. at *5–8. The
             District Court concluded that appellants’ history and
             characteristics weighed against detention but that the nature
             and circumstances of the charged offenses, the weight of the
             evidence, and the potential danger appellants pose to the
             community weighed in favor of detention. Id. The District
             Court further determined that neither appellant was likely to be
             deterred by release conditions. Id. at *7, *8.

                  Munchel and Eisenhart timely appealed. They contend
             that the District Court erred in not deferring to Magistrate
             Judge Frensley’s factual findings as to their dangerousness.
             They also contend that the District Court inappropriately relied
             on a finding that they were unlikely to abide by release
             conditions to detain them, because that factor is applicable only
             to revocation of pretrial release. They also argue that the
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              charged offenses do not authorize detention, claiming that
              felonies involving possession of a weapon, rather than use, do
              not qualify for detention and, relatedly, that Munchel’s taser is
              not a “dangerous weapon” within the meaning of the statute.
              Munchel and Eisenhart also object that several other
              defendants who participated in the insurrection have been
              released before trial, arguing that the conduct of those
              defendants is indistinguishable (or even worse) than their
              conduct on January 6. Finally, they contend that the District
              Court’s determinations in support of detention were clearly
              erroneous.

                                             II.

                    “In our society liberty is the norm, and detention prior to
              trial or without trial is the carefully limited exception.” United
              States v. Salerno, 481 U.S. 739, 755 (1987).

                   The Bail Reform Act of 1984 authorizes one of those
              carefully limited exceptions by providing that the court “shall
              order” a defendant detained before trial if it “finds that no
              condition or combination of conditions will reasonably assure
              the appearance of the person as required and the safety of any
              other person and the community.” 18 U.S.C. § 3142(e). “In
              common parlance, the relevant inquiry is whether the
              defendant is a ‘flight risk’ or a ‘danger to the community.’”
              United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir.
              2019). Here, the District Court held that both Munchel and
              Eisenhart should be detained on the basis of dangerousness.

                   In assessing whether pretrial detention is warranted for
              dangerousness, the district court considers four statutory
              factors: (1) “the nature and circumstances of the offense
              charged,” (2) “the weight of the evidence against the person,”
              (3) “the history and characteristics of the person,” and (4) “the
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              nature and seriousness of the danger to any person or the
              community that would be posed by the person’s release.” 18
              U.S.C. § 3142(g)(1)–(4). To justify detention on the basis of
              dangerousness, the government must prove by “clear and
              convincing evidence” that “no condition or combination of
              conditions will reasonably assure the safety of any other person
              and the community.” Id. § 3142(f). Thus, a defendant’s
              detention based on dangerousness accords with due process
              only insofar as the district court determines that the defendant’s
              history, characteristics, and alleged criminal conduct make
              clear that he or she poses a concrete, prospective threat to
              public safety.

                   In Salerno, the Supreme Court rejected a challenge to this
              preventive detention scheme as repugnant to due process and
              the presumption of innocence, holding that “[w]hen the
              Government proves by clear and convincing evidence that an
              arrestee presents an identified and articulable threat to an
              individual or the community, we believe that, consistent with
              the Due Process Clause, a court may disable the arrestee from
              executing that threat.” 481 U.S. at 751 (emphasis added).

                                             III.

                  We can readily dispatch with some of the appellants’
              arguments.

                   First, we conclude that we need not reach appellants’
              contention that the District Court erred in not deferring to
              Magistrate Judge Frensley’s factual findings as to their
              dangerousness. The statute concerning review of a Magistrate
              Judge’s release order says nothing about the standard of the
              district court’s review, see 18 U.S.C. § 3145(a), and we have
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              not squarely decided the issue.3 We need not break new ground
              in this case, because as the appellants maintain in their briefing,
              Munchel Reply Mem. 8, n.3, the government submitted
              substantial additional evidence to the district judge that had not
              been presented to the Magistrate Judge, including the 50-
              minute iPhone video, a partial transcript of the video, and
              several videos from Capitol CCTV. 4 As a result, this was not
              an instance where the District Court made its dangerousness
              finding based on the same record as was before the Magistrate
              Judge. Here, the situation was more akin to a new hearing, and
              as such, the issue before the District Court was not really
              whether to defer (or not) to a finding made by the Magistrate
              Judge on the same evidentiary record. Thus, we conclude that
              the issue complained of by appellants is not squarely before us
              in this appeal and we see no need to reach it.

                   Second, we reject the argument that the District Court
              inappropriately relied on a finding that appellants were unlikely
              to abide by release conditions to detain them, because that
              factor is applicable only to revocation of pretrial release. The

              3 This court stated long ago, in dictum, in a case arising under the

              predecessor Bail Reform Act that district courts review such prior
              determinations with “broad discretion.” Wood v. United States, 391
              F.2d 981, 984 (D.C. Cir. 1968) (“Evaluating the competing
              considerations is a task for the commissioner or judge in the first
              instance, and then the judges of the District Court (where they have
              original jurisdiction over the offense) have a broad discretion to
              amend the conditions imposed, or to grant release outright, if they
              feel that the balance has been improperly struck.”).
              4 Below, the government contended that the 50-minute iPhone video

              was presented to the Magistrate Judge in Eisenhart’s detention
              hearing. ECF No. 41 at 2 & n.2. However, it does not dispute the
              appellants’ claim that the partial transcript of the video and the
              videos from Capitol CCTV were not presented to the Magistrate
              Judge.
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              District Court’s finding as to appellants’ potential compliance
              is relevant to the ultimate determination of “whether there are
              conditions of release that will reasonably assure . . . the safety
              of any other person and the community.” 18 U.S.C. § 3142(f)
              and (g). Indeed, other courts have found a defendant’s
              potential for compliance with release conditions relevant to the
              detention inquiry. See, e.g., United States v. Hir, 517 F.3d
              1081, 1092–93 (9th Cir. 2008) (explaining that release
              conditions require “good faith compliance” and that the
              circumstances of the charged offenses indicate “that there is an
              unacceptably high risk that [the defendant] would not comply.
              . . with the proposed conditions”); United States v. Tortora, 922
              F.2d 880, 886–90 (1st Cir. 1990). While failure to abide by
              release conditions is an explicit ground for revocation of
              release in 18 U.S.C. § 3148(b), it defies logic to suggest that a
              court cannot consider whether it believes the defendant will
              actually abide by its conditions when making the release
              determination in the first instance pursuant to 18 U.S.C. § 3142.

                   Third, we reject Munchel and Eisenhart’s arguments that
              the charged offenses do not authorize detention. Under 18
              U.S.C. § 3142(f)(1)(E), detention is permitted if the case
              involves “any felony . . . that involves the possession or use of
              a . . . dangerous weapon.” (emphasis added). Two of the
              charges in the indictment meet this description: Count Two—
              entering a restricted building “with intent to impede and disrupt
              the orderly conduct of Government business . . . while armed
              with a dangerous weapon,” in violation of 18 U.S.C.
              § 1752(a)(1) and (a)(2) and 18 U.S.C. § 2 (aiding and abetting
              charge for Eisenhart); and Count Three—violent entry or
              disorderly conduct, again “while armed with a dangerous
              weapon,” in violation of 40 U.S.C. § 5104(e)(1) and (e)(2) and
              18 U.S.C. § 2. Indictment, ECF No. 21 at 2. The Bail Reform
              Act thus explicitly authorizes detention when a defendant is
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              charged with committing certain felonies while possessing a
              dangerous weapon, as is alleged in this indictment. 5

                                               IV.

                   That leaves us with Munchel and Eisenhart’s final two
              arguments: (1) that the District Court’s determinations in
              support of detention were clearly erroneous; and (2) that
              several other defendants who participated in the insurrection
              have been released before trial, even though the conduct of
              those defendants is indistinguishable (or even worse) than their
              conduct on January 6. The first challenges the District Court’s
              finding that no condition or combination of conditions of
              release could reasonably assure the safety of the community
              while these appellants await trial. Appellants did not raise the

              5 Eisenhart’s argument that a taser is not a dangerous weapon—

              which Eisenhart raises for the first time in reply, and which Munchel
              seeks to adopt in his reply—is without merit. The relevant statute,
              40 U.S.C. § 5104(a)(2)(B), defines the term “dangerous weapon” to
              include “a device designed to expel or hurl a projectile capable of
              causing injury to individuals or property. . . .” While the record
              contains no evidence or proffer as to how Munchel’s taser operates,
              a taser is commonly understood as a device designed to expel a
              projectile capable of causing injury to individuals. See Cantu v. City
              of Dothan, 974 F.3d 1217, 1224–25 (11th Cir. 2020); Mattos v.
              Agarano, 661 F.3d 433, 443 (9th Cir. 2011) (“[A] taser uses
              compressed nitrogen to propel a pair of ‘probes’—aluminum darts
              tipped with stainless steel barbs connected to the taser by insulated
              wires—toward the target at a rate of over 160 feet per second. Upon
              striking a person, the taser delivers a 1200 volt, low ampere electrical
              charge. The electrical impulse instantly overrides the victim’s
              central nervous system, paralyzing the muscles throughout the body,
              rendering the target limp and helpless.” (internal alterations and
              quotation marks omitted)). Thus, at this stage, the evidence
              sufficiently demonstrates that Munchel’s taser is a dangerous
              weapon under the statute.
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              latter argument below, so we decline to pass on it in the first
              instance and without the benefit of full briefing.

                                            A.

                    We review the District Court’s dangerousness
              determinations for clear error. United States v. Smith, 79 F.3d
              1208, 1209 (D.C. Cir. 1996); United States v. Simpkins, 826
              F.2d 94, 96 (D.C. Cir. 1987). “A finding is ‘clearly erroneous’
              when although there is evidence to support it, the reviewing
              court on the entire evidence is left with the definite and firm
              conviction that a mistake has been committed.” United States
              v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948); see also United
              States v. Celis, 608 F.3d 818, 843 (D.C. Cir. 2010). If, upon
              reviewing the record, it does not appear that the District Court
              considered substantial countervailing evidence that supported
              release when analyzing the detention factors, we sometimes
              remand for reconsideration rather than reverse. See United
              States v. Nwokoro, 651 F.3d 108, 110 (D.C. Cir. 2011)
              (remanding where the “district court [did not] demonstrate that
              it considered many of the facts apparent from the record before
              it”).

                   In this case, the District Court found that because Munchel
              has limited criminal history and Eisenhart has none, their
              history and characteristics weighed against a finding that no
              conditions of release would protect the community. Munchel,
              2021 WL 620236, at *6, *8. However, the District Court found
              that the nature and circumstances of the charged offenses,
              weight of the evidence, and danger to the community factors
              all weighed in favor of finding that no conditions of release
              would protect the community. Id. at *5–7 (Munchel) 6, *7–8

              6 Although the government presented evidence that Munchel was in

              contact with a member of the Proud Boys after January 6 and was
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              (Eisenhart). The crux of the District Court’s reasoning was that
              “the grand jury alleged that [the appellants] used force to
              subvert a democratic election and arrest the peaceful transfer
              of power. Such conduct threatens the republic itself. . . .
              Indeed, few offenses are more threatening to our way of life.”
              Id. at *5. Furthermore, because in media interviews Munchel
              showed no remorse and indicated that he would “undertake
              such actions again,” while Eisenhart stated that she would
              rather “fight” and “die” than “live under oppression,” the
              District Court found that both appellants were a danger to the
              republic and unlikely to abide by conditions of release. Id. at
              *6, *8 (quoting Pullman, supra). Nevertheless, we conclude
              that the District Court did not demonstrate that it adequately
              considered, in light of all the record evidence, whether
              Munchel and Eisenhart present an identified and articulable
              threat to the community. Accordingly, we remand for further
              factfinding. Cf. Nwokoro, 651 F.3d at 111–12.

                                               B.

                   The crux of the constitutional justification for preventive
              detention under the Bail Reform Act is that “[w]hen the
              Government proves by clear and convincing evidence that an
              arrestee presents an identified and articulable threat to an
              individual or the community, . . . a court may disable the
              arrestee from executing that threat.” Salerno, 481 U.S. at 751.
              Therefore, to order a defendant preventatively detained, a court


              interested in joining the group, id. at *6, the District Court made no
              finding as to whether this evidence indicated that Munchel posed a
              danger to the community. It did, however, consider the evidence of
              Munchel’s contact with the Proud Boys in its analysis of Munchel’s
              history and characteristics, and determined that despite the evidence,
              Munchel’s history and characteristics weighed against detention. Id.
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              must identify an articulable threat posed by the defendant to an
              individual or the community. The threat need not be of
              physical violence, and may extend to “non-physical harms such
              as corrupting a union.” United States v. King, 849 F.2d 485,
              487 n.2 (11th Cir. 1988) (quoting S. REP. NO. 98–225, at 3
              (1984), as reprinted in 1984 U.S.C.C.A.N. 3182, 3195–96).
              But it must be clearly identified. See Salerno, 481 U.S. at 750
              (noting that the Act applies in “narrow circumstances” where
              “the Government musters convincing proof that the arrestee,
              already indicted or held to answer for a serious crime, presents
              a demonstrable danger to the community”); cf. Tortora, 922
              F.2d at 894 (Breyer, C.J., concurring) (reversing an order of
              release where the district court failed to “carefully analyze[] the
              danger [the defendant] posed”). Detention cannot be based on
              a finding that the defendant is unlikely to comply with
              conditions of release absent the requisite finding of
              dangerousness or risk of flight; otherwise the scope of
              detention would extend beyond the limits set by Congress. As
              we observed of the Bail Reform Act of 1966, “[t]he law
              requires reasonable assurance[,] but does not demand absolute
              certainty” that a defendant will comply with release conditions
              because a stricter regime “would be only a disguised way of
              compelling commitment in advance of judgment.” United
              States v. Alston, 420 F.2d 176, 178 (D.C. Cir. 1969).

                   The threat must also be considered in context. See
              Tortora, 922 F.2d at 888 (“Detention determinations must be
              made individually and, in the final analysis, must be based on
              the evidence which is before the court regarding the particular
              defendant. The inquiry is factbound.” (internal citations
              omitted)). It follows that whether a defendant poses a
              particular threat depends on the nature of the threat identified
              and the resources and capabilities of the defendant. Cf.
              Nwokoro, 651 F.3d at 110–11 (noting that evidence “favoring
              appellant’s pretrial release” included the fact that appellant had
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              no assets under his control, no ability to flee the country, and
              “no prior criminal record”). Whether the defendant poses a
              threat of dealing drugs, for instance, may depend on the
              defendant’s past experience dealing, see, e.g., United States v.
              Briggs, 697 F.3d 98, 102 (2d Cir. 2012), and her means of
              continuing to do so in the future, see, e.g., United States v.
              Henry, 172 F.3d 921 (D.C. Cir. 1999) (unpublished).

                   Here, the District Court did not adequately demonstrate
              that it considered whether Munchel and Eisenhart posed an
              articulable threat to the community in view of their conduct on
              January 6, and the particular circumstances of January 6. The
              District Court based its dangerousness determination on a
              finding that “Munchel’s alleged conduct indicates that he is
              willing to use force to promote his political ends,” and that
              “[s]uch conduct poses a clear risk to the community.”
              Munchel, 2021 WL 620236, at *6.                In making this
              determination, however, the Court did not explain how it
              reached that conclusion notwithstanding the countervailing
              finding that “the record contains no evidence indicating that,
              while inside the Capitol, Munchel or Eisenhart vandalized any
              property or physically harmed any person,” id. at *3, and the
              absence of any record evidence that either Munchel or
              Eisenhart committed any violence on January 6. That Munchel
              and Eisenhart assaulted no one on January 6; that they did not
              enter the Capitol by force; and that they vandalized no property
              are all factors that weigh against a finding that either pose a
              threat of “using force to promote [their] political ends,” and
              that the District Court should consider on remand. If, in light
              of the lack of evidence that Munchel or Eisenhart committed
              violence on January 6, the District Court finds that they do not
              in fact pose a threat of committing violence in the future, the
              District Court should consider this finding in making its
              dangerousness determination. In our view, those who actually
              assaulted police officers and broke through windows, doors,
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              and barricades, and those who aided, conspired with, planned,
              or coordinated such actions, are in a different category of
              dangerousness than those who cheered on the violence or
              entered the Capitol after others cleared the way. See Simpkins,
              826 F.2d at 96 (“[W]here the future misconduct that is
              anticipated concerns violent criminal activity, no issue arises
              concerning the outer limits of the meaning of ‘danger to the
              community,’ an issue that would otherwise require a legal
              interpretation of the applicable standard.” (internal quotation
              and alteration omitted)). And while the District Court stated
              that it was not satisfied that either appellant would comply with
              release conditions, that finding, as noted above, does not
              obviate a proper dangerousness determination to justify
              detention.

                   The District Court also failed to demonstrate that it
              considered the specific circumstances that made it possible, on
              January 6, for Munchel and Eisenhart to threaten the peaceful
              transfer of power. The appellants had a unique opportunity to
              obstruct democracy on January 6 because of the electoral
              college vote tally taking place that day, and the concurrently
              scheduled rallies and protests. Thus, Munchel and Eisenhart
              were able to attempt to obstruct the electoral college vote by
              entering the Capitol together with a large group of people who
              had gathered at the Capitol in protest that day. Because
              Munchel and Eisenhart did not vandalize any property or
              commit violence, the presence of the group was critical to their
              ability to obstruct the vote and to cause danger to the
              community. Without it, Munchel and Eisenhart—two
              individuals who did not engage in any violence and who were
              not involved in planning or coordinating the activities—
              seemingly would have posed little threat. The District Court
              found that appellants were a danger to “act against Congress”
              in the future, but there was no explanation of how the
              appellants would be capable of doing so now that the specific
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              circumstances of January 6 have passed. This, too, is a factor
              that the District Court should consider on remand.

                                              C.

                   Finally, Munchel and Eisenhart argue that the
              government’s proffer of dangerousness should be weighed
              against the fact that the government did not seek detention of
              defendants who admitted they pushed through the police
              barricades and defendants charged with punching officers,
              breaking windows, discharging tasers at officers, and with
              planning and fundraising for the riot. See Munchel Reply
              Mem. at 9–12. Appellants did not raise this claim before the
              District Court and the government did not substantively
              respond to it on appeal because Appellants raised it for the first
              time in Munchel’s reply. Whatever potential persuasiveness
              the government’s failure to seek detention in another case
              carries in the abstract, every such decision by the government
              is highly dependent on the specific facts and circumstances of
              each case, which are not fully before us. In addition, those facts
              and circumstances are best evaluated by the District Court in
              the first instance, and it should do so should appellants raise the
              issue upon remand.

                                              ****

                   It cannot be gainsaid that the violent breach of the Capitol
              on January 6 was a grave danger to our democracy, and that
              those who participated could rightly be subject to detention to
              safeguard the community. Cf. Salerno, 481 U.S. at 748 (“[I]n
              times of war or insurrection, when society’s interest is at its
              peak, the Government may detain individuals whom the
              government believes to be dangerous.” (citations omitted)).
              But we have a grave constitutional obligation to ensure that the
              facts and circumstances of each case warrant this exceptional
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              treatment. Accordingly, we conclude that the appropriate
              resolution of this case is to remand the detention orders for
              reconsideration forthwith of the government’s oral motion for
              pretrial detention.

                                                               So ordered.
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                   KATSAS, Circuit Judge, concurring in part and dissenting
              in part: These appeals present the question whether Eric
              Munchel and his mother, Lisa Eisenhart, may be detained
              pending trial for their participation in the riot at the United
              States Capitol on January 6, 2021. The answer to that question
              does not turn on any generalized, backward-looking
              assessment of the rioters or the riot, as the district court
              erroneously suggested. Instead, it turns on a specific, forward-
              looking assessment of whether Munchel and Eisenhart as
              individuals currently pose an unmitigable threat to public
              safety. My colleagues and I agree on this critical point about
              the governing legal standard in these appeals. We also agree
              that the district court failed to justify the detention of Munchel
              and Eisenhart on the record before it. But whereas my
              colleagues remand for a do-over, I would reverse outright. 1

                   The Bail Reform Act permits pretrial detention in only
              “carefully defined circumstances.” United States v. Simpkins,
              826 F.2d 94, 95–96 (D.C. Cir. 1987). To support detention, a
              court must find that “no condition or combination of conditions
              will reasonably assure the appearance of the person as required
              and the safety of any other person and the community.” 18
              U.S.C. § 3142(e)(1). In assessing public safety and flight risk,
              courts must consider four factors: (1) “the nature and
              circumstances of the offense charged,” (2) “the weight of the
              evidence against the person,” (3) “the history and
              characteristics of the person,” and (4) “the nature and
              seriousness of the danger to any person or the community that
              would be posed by the person’s release.” Id. § 3142(g). For the

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                     I join parts I to III of the Court’s opinion. I also agree with
              much of the legal analysis in part IV, including the proposition that
              those who assaulted police officers or forcibly breached Capitol
              security on January 6 “are in a different category of dangerousness”
              than those who, like Munchel and Eisenhart, only “cheered on” the
              disruption and “entered the Capitol after others cleared the way.”
              Ante at 18–19.
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              public-safety determination, the government must prove all
              relevant facts “by clear and convincing evidence,” id.
              § 3142(f)(2), and we review all relevant findings for clear error,
              United States v. Smith, 79 F.3d 1208, 1209 (D.C. Cir. 1996).

                   In this case, a magistrate judge concluded that neither
              Munchel nor Eisenhart is a flight risk and that neither would
              pose a safety risk if subjected to conditions including home
              detention, GPS monitoring, a ban on possessing firearms, a ban
              on travel to Washington, D.C., and supervision by the U.S.
              Pretrial and Probation Services System. Munchel Mag. Tr. at
              177, 181, 185–89; Eisenhart Mag. Tr. at 152, 163, 164–66. The
              district court agreed that Munchel and Eisenhart do not present
              a flight risk, but found that no combination of release
              conditions would reasonably ensure public safety. United
              States v. Munchel, No. 1:21-CR-118-RCL, 2021 WL 620236,
              at *1, *5, *7 (D.D.C. Feb. 17, 2021). The court found that all
              but one of the subsidiary statutory factors weigh in favor of
              detention. Id. at *5–8.

                   In my view, the district court clearly erred in finding that
              the government satisfied its burden to prove an unmitigable
              threat to public safety by clear and convincing evidence. The
              court’s errors infected both its assessment of the individual
              factors and its ultimate determination that Munchel and
              Eisenhart must be detained.

                   The first factor looks to both the “nature” and
              “circumstances” of the “charged” offense: “the former refers to
              the generic offense while the latter encompasses the manner in
              which the defendant committed it.” United States v. Singleton,
              182 F.3d 7, 12 (D.C. Cir. 1999). Munchel and Eisenhart have
              been charged with obstructing an official proceeding, see 18
              U.S.C. § 1512(c)(2); entering a restricted building unlawfully
              or with the intent to impede government business, see id.
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              § 1752(a)(1)–(2), (b); carrying a dangerous weapon on the
              Capitol grounds, see 40 U.S.C. § 5104(e)(1); and entering the
              Capitol with the intent to disrupt official business, see id.
              § 5104(e)(2). The district court described the charged offenses
              as “grave,” asserted that “few offenses are more threatening to
              our way of life,” and quoted at length from George
              Washington’s Farewell Address. Munchel, 2021 WL 620236,
              at *5–7. But none of the charged offenses is a Class A or Class
              B felony, see 18 U.S.C. § 3559(a), none carries a mandatory
              minimum sentence, and none gives rise to a rebuttable
              presumption of detention.

                   The district court was primarily concerned with how
              Munchel and Eisenhart committed their offenses. In addition
              to the descriptions noted above, the court asserted that their
              conduct showed “a flagrant disregard for the rule of law”—and
              indeed “threatens the republic itself.” Munchel, 2021 WL
              620236, at *5–6. The court described Munchel as “willing to
              use force to promote his political ends” and as “[s]torming the
              Capitol to disrupt the counting of electoral votes.” Id. at *6.
              Further, it found that Munchel’s entering the Capitol “carried
              great potential for violence” because he was “armed with a
              taser,” “carried plastic handcuffs,” and “threatened to ‘break’
              anyone who vandalized the Capitol.” Id. But as the court itself
              acknowledged, “[t]he record contains no evidence indicating
              that, while inside the Capitol, Munchel or Eisenhart vandalized
              any property or physically harmed any person.” Id. at *3.

                  A video recorded by Munchel—documenting what he and
              his mother did on January 6—confirms the more benign
              assessment. The video shows the following: Munchel and
              Eisenhart did not organize the election protest or the ensuing
              march to the Capitol, hatched no advance plan to enter the
              Capitol, and acted in concert with no other protestors. Nor did
              they assault any police officers or remove any barricades in
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              order to breach Capitol security. They decided to enter the
              Capitol only after others had already done so forcibly. By the
              time they made their way to the building, police were making
              no attempt to stop or even discourage protestors from entering.
              To go inside, Munchel and Eisenhart walked through an open
              door. While there, they attempted neither violence nor
              vandalism. They searched for no Members of Congress, and
              they harassed no police officers. They found plastic handcuffs
              by chance, but never threatened to use them. Munchel’s threat
              to “break” anyone who vandalized the Capitol was intended to
              prevent destruction and was addressed to no one in particular.
              See Munchel iPhone Video at 43:41. For ten to twelve minutes,
              Munchel and Eisenhart wandered the halls of the Capitol, with
              Eisenhart leading the way and Munchel asking his mother what
              her plan was. At one point, they entered the Senate gallery. At
              another, as they entered what appears to be a hallway of offices,
              Munchel told his mother that “[w]e don’t want to get stuck in
              here, this is not a place for us,” which caused her to turn around.
              Id. at 42:11–14. Munchel and Eisenhart voluntarily left the
              building—while many other protestors remained and before
              the police began to restore order. Their misconduct was
              serious, but it hardly threatened to topple the Republic. Nor,
              for that matter, did it reveal an unmitigable propensity for
              future violence.

                   Turning to the second factor, the district court found that
              the “weight of the evidence” supported pretrial detention.
              Munchel, 2021 WL 620236, at *6, *8. The video in this case
              documents exactly what Munchel and Eisenhart did inside the
              Capitol. It forecloses any contention that pretrial detention is
              inappropriate because of uncertainty about whether the alleged
              conduct occurred. But as explained above, the conduct does
              not show that Munchel and Eisenhart pose an unmitigable
              future threat to public safety. The second factor thus moves the
              needle neither one way nor the other.
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                   The district court next found that the defendants’ “history
              and characteristics” do not support detention. See Munchel,
              2021 WL 620236, at *6, *8. The government fails to challenge
              that finding—and for good reason. Munchel maintained
              employment until his arrest, has no history of violence, has no
              prior felony convictions, and is not a member of any anti-
              government or militia group. He has two prior misdemeanor
              convictions for possession of marijuana, which are both more
              than five years old, and there was no proof that he has ever
              failed to comply with any probation conditions imposed as a
              result. Munchel Mag. Tr. at 174–75. Eisenhart is 57 years old,
              has been a nurse for three decades, and has no criminal history.
              Both appellants voluntarily surrendered to the FBI. Munchel
              took affirmative steps to preserve the evidence in his cellphone
              and arranged to provide it to the government. Id. at 176.
              Before her arrest warrant had even issued, Eisenhart
              established daily contact with the FBI so that she could turn
              herself in as soon as it did. Eisenhart Mag. Tr. at 152. The
              third factor thus cuts strongly in favor of release.

                   In evaluating the “nature and seriousness” of any danger,
              the district court highlighted statements that Munchel and
              Eisenhart made to the media on January 7. Munchel said that
              “[t]he point of getting inside the building is to show them that
              we can, and we will,” Munchel, 2021 WL 620236, at *6, while
              Eisenhart, invoking the American Revolution, said that she
              would “rather die and would rather fight” than “live under
              oppression,” id. at *8. To the district court, these statements
              indicated that the defendants pose “a clear danger to our
              republic” and that Eisenhart is a “would-be martyr.” Id. at *6,
              *8. But the defendants’ actual conduct belied their rhetorical
              bravado. During the chaos of the Capitol riot, Munchel and
              Eisenhart had ample opportunity to fight, yet neither of them
              did. Munchel lawfully possessed several firearms in his home,
              but he took none into the Capitol. Munchel Mag. Tr. at 179,
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              182. Indeed, before entering the Capitol, Munchel and
              Eisenhart stashed a knife inside a backpack that they left
              outside, precisely for fear of ending up in “federal prison.” See
              Munchel, 2021 WL 620236, at *2.

                   Moreover, even if their comments indicate some
              willingness to engage in future protests or disruption, the Bail
              Reform Act permits detention only to prevent an “identified
              and articulable threat to an individual or the community.”
              United States v. Salerno, 481 U.S. 739, 751 (1987). Here, the
              district court identified one such threat—that Munchel and
              Eisenhart would attempt “to stop or delay the peaceful transfer
              of power.” Munchel, 2021 WL 620236, at *6, *8. But the
              transition has come and gone, and that threat has long passed.
              In the district court, the government warned of an upcoming
              protest scheduled for March 4. But that protest never
              materialized, and the government produced no evidence that
              Munchel and Eisenhart had been involved in its planning
              before their arrest. The government’s gesturing towards the
              possibility of their joining future protests falls well short of any
              “identified and articulable threat.” Salerno, 481 U.S. at 751.

                  After evaluating the four statutory factors, the district court
              turned to the ultimate question in the case—whether no release
              conditions would reasonably ensure public safety. The court
              worried that a “determined defendant” could “cut off an ankle
              monitor, ignore travel restrictions, elude a third-party
              custodian, unlawfully rearm, and endanger his community.”
              Munchel, 2021 WL 620236, at *7. The court found that
              Munchel was such a defendant given his “brazen actions in
              front of hundreds of law enforcement officers” and his media
              comments. Id. It found that Eisenhart also qualified, because
              of her supposed “willingness to die for her cause.” Id. at *8.
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                   Yet the record shows otherwise. As explained above,
              Munchel and Eisenhart chose to trespass—not to engage in
              violence, much less fight to the death. Afterwards, both
              voluntarily surrendered to the FBI, as the district court
              recognized in concluding that neither posed a flight risk. See
              Munchel, 2021 WL 620236, at *5, *7. Munchel preserved and
              voluntarily turned over his cellphone video. Munchel Mag. Tr.
              at 176. Likewise, even after he was identified as a suspect,
              Munchel made no attempt to hide or remove the firearms that
              he lawfully possessed at his home. Id. at 181–82. As for the
              defendants’ attitudes towards law enforcement, the video
              shows that police did not seek to discourage their entry into the
              Capitol through an open door, Munchel iPhone Video at 38:48;
              Munchel and Eisenhart made no attempt to harass officers
              while inside the Capitol; and, as they were preparing to exit,
              Munchel encountered an officer and said “Sorry, guys, I still
              love you,” id. at 49:26. Finally, contrary to the district court’s
              characterization of Eisenhart as a “would-be martyr,” she
              specifically declined to bring a knife into the Capitol because
              of her expressed concerns with “federal prison.” See Munchel,
              2021 WL 620236, at *2. The defendants’ other personal
              characteristics—which the district court acknowledged to
              weigh in favor of release—further indicate that they are likely
              to comply with release conditions.

                   In this case, the magistrate judge imposed strict release
              conditions. For Munchel, he required confinement at the home
              of a third-party custodian, GPS location monitoring,
              supervision by Pretrial Services, no possession of firearms, no
              travel to D.C., no excessive use of alcohol, no possession or
              use of any controlled substance, and drug testing if ordered by
              Pretrial Services. Munchel Mag. Tr. at 185–89. For Eisenhart
              he required home confinement, location monitoring,
              supervision by a third-party custodian, no possession of
              firearms, no travel to D.C., and submission to psychiatric
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              treatment if ordered by Pretrial Services. Eisenhart Mag. Tr. at
              164–66. The district court gave no plausible explanation for
              why these stringent conditions would not reasonably ensure
              public safety.

                    Of course, we review dangerousness findings only for
              clear error, Smith, 79 F.3d at 1209, which requires affirmance
              if a district court’s “account of the evidence is plausible in light
              of the record viewed in its entirety,” Anderson v. City of
              Bessemer City, 470 U.S. 564, 573–74 (1985). But while the
              standard of review here is favorable to the government, both
              substantive law and the standard of proof favor the defendants.
              The Bail Reform Act requires a showing that “no condition or
              combination of conditions” would even “reasonably assure”
              the safety of individuals or the community. 18 U.S.C.
              § 3142(e)(1). And it requires this showing to be made by “clear
              and convincing evidence,” id. § 3142(f)(2)—a heightened
              standard of proof under which the fact finder must “give the
              benefit of the doubt to the defendant,” United States v.
              Montague, 40 F.3d 1251, 1255 (D.C. Cir. 1994); see Addington
              v. Texas, 441 U.S. 418, 424 (1979). Putting it all together,
              because the record strongly suggests that Munchel and
              Eisenhart would present no safety risk if subjected to strict
              release conditions, the district court clearly erred in finding that
              the government had proved its case by clear and convincing
              evidence.

                   “In our society liberty is the norm, and detention prior to
              trial or without trial is the carefully limited exception.”
              Salerno, 481 U.S. at 755. Because the district court clearly
              erred here, I would reverse its detention order and remand for
              the setting of appropriate release conditions.
